931 F.2d 54Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Donell McCRAY, Plaintiff-Appellant,v.Lawrence MALLORY, Lieutenant, Alvin Booth, Captain, BennyHeath, Sheriff, M. Wilkins, Sergeant, Defendants-Appellees.
    No. 90-6666.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided April 24, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  Robert G. Doumar, District Judge.  (CA-MISC-90-71-N)
      Ronald Donell McCray, appellant pro se.
      E.D.Va.
      AFFIRMED AS MODIFIED.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Ronald Donell McCray appeals the dismissal of his complaint for failure to pay a court-ordered partial filing fee.  We grant leave to proceed in formal pauperis and affirm the dismissal of his complaint for the reasons stated below.
    
    
      2
      The district court imposed a partial filing fee based on 18% of the aggregate amount deposited in appellant's account in the six months prior to submission of the complaint.  This assessment violated Local Rule 28(C) for the Eastern District of Virginia, which only permitted a partial filing fee based on the "average amount on deposit" in the relevant period.
    
    
      3
      However, McCray's complaint, that he has been denied visitation while in prison and that his grievances have not all been answered, is frivolous.    See Kentucky Dep't of Corrections v. Thompson, 490 U.S. 454 (1989) (no constitutional right to visitation);  Spencer v. Moore, 638 F.Supp. 315 (E.D.Mo.1986) (grievance procedure not constitutionally required).  Because McCray's claims lack an arguable basis either in law or in fact, we affirm the dismissal of his complaint under 28 U.S.C. Sec. 1915(d).    See Neitzke v. Williams, 490 U.S. 319 (1989).
    
    
      4
      Accordingly, we affirm as modified the district court's dismissal of this action.  We dispense with oral argument because the facts and legal contentions are adequately presented and argument would not aid the decisional process.
    
    
      5
      AFFIRMED AS MODIFIED.
    
    